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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

    SECOND MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC FOR
        ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
         FINANCIAL ADVISOR TO THE DEBTOR FOR THE PERIOD FROM
                JANUARY 1, 2023 THROUGH JANUARY 31, 2022

    Name of Applicant:             BlackBriar Advisors, LLC
    Applicant’s Role in Case:      Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                       Beginning of Period            End of Period
    Time Period Covered in         01/01/2023                 01/31/2023
    Statement:
                         Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $123,256.001
                                                              (80% of $154,070.00)
    Total Reimbursable Expenses Requested in this Statement: $6,422.002
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $154,070.00
    Total Actual Professional Hours Covered by this 363.00
    Statement:
    Average Hourly Rate for Professionals:                    $424.00

               In accordance with the Order Granting Motion for Entry of an Order
               Establishing Procedures for Interim Compensation and Reimbursement
               of Expenses for Chapter 11 Professionals [Docket No. #106], each party
               receiving notice of the monthly fee statement will have 14 days after
               service of the monthly fee statement to object to the requested fees and
               expenses. Upon the expiration of such 14 day period, the Debtor is
               authorized to pay the Professional an amount of 80% of the fees and
               100% of the expenses requested in the applicable monthly fee
               statement.

1
  BlackBriar was provided a retainer of $200,000 prior to the bankruptcy filing. $59,997.45 was applied to the
December, 2022 fees and expenses, leaving a balance of $140,000.55.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Second Monthly Fee Statement of BlackBriar Advisors,

LLC. for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor

for the Period from January 1, 2023 through January 31, 2023 (the “Monthly Fee Statement”).

                                    RELIEF REQUESTED

       1.      By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $123,256.00 (80% of 154,070.00) as compensation for

professional services rendered to the Debtor during the period from January 1, 2023 through

January 31, 2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in the

amount of $6,422.00, for a total amount of $129,678.00 to be paid upon expiration of the objection

deadline barring any objections, pursuant to the Interim Compensation Order.

       2.      In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Legal Fees by Category

as Counsel for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as Financial

Advisor for the Fee Period, attached hereto as Exhibit C.

       3.      Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),



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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Proposed Counsel to the Official Committee of Unsecured
                       Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                       New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                       Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                       dzensky@akingump.com, mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included


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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

        5.       Therefore, BlackBriar respectfully submits support for its fees in the amount of

$154,070.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $6,422.00 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $123,256.003

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: March 2, 2023

                                                             BLACKBRIAR ADVISORS, LLC

                                                             By: /s/ Robert Schleizer
                                                             Robert Schleizer
                                                             2626 Cole Ave., Suite 300
                                                             Dallas, TX 75201
                                                             Telephone: 214-599-8600
                                                             Email: bschleizer@blackbriaradvisors.com


                                                             FINANCIAL ADVISORS FOR DEBTOR
                                                             ALEXANDER E. JONES




3
 Such payment to be made first from any existing retainer funds held by BlackBriar for the Debtor.
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                                CERTIFICATE OF SERVICE

I certify that on March 2, 2023, a true and correct copy of the foregoing pleading was served upon
the parties listed on the attached service list via the Court’s ECF system and pursuant to Local
Rule 9003-1, via e mail or U.S. mail as follows:

               a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

               b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.     Proposed Counsel to the Official Committee of Unsecured
                      Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                      New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                      Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                      dzensky@akingump.com, mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

               d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

               e.     Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

               f.     Any other parties that the Court may designate.


                                             /s/ Christina W. Stephenson
                                                 Christina W. Stephenson




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                               EXHIBIT “A”
                SUMMARY OF EXPENSES FOR THE FEE PERIOD


                        EXPENSE                                     TOTAL
Airfare/Train                                                       $1,835.20
Mileage                                                                28.19
Meals                                                                 480.00
Auto                                                                  714.41
Hotel                                                                3,119.30
Other                                                                 245.22




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                                  EXHIBIT “B”
             SUMMARY OF FEES AND EXPENSES BY CATEGORY
                        FOR THE FEE PERIOD
           CATEGORIES                           PROFESSIONAL
                                                    TIME
           B110 Case Administration                 122.70
           B120 Asset Analysis and Recovery          0.00
           B130 Asset Disposition                    0.00
           B140 Relief from Stay/Adequate
           Protection                                  0.00
           B150 Meetings of & Communications
           with Creditors                              0.00
           B160 Fee/Employment Applications            1.80
           B170 Fee/Employment Objections              0.00
           B180 Avoidance Action Analysis              0.00
           B185 Assumption/Rejection of
           Executory Contracts                          0.00
           B190 Other Contested Matters                 0.00
           B195 Non-Working Travel                     39.00
           B210 Business Operations                   194.50
           B220 Employee Benefits/Pensions              0.00
           B230 Financing/Cash Collections              0.00
           B240 Tax Issues                               5.0
           B250 Real Estate                             0.00
           B260 Board of Directors Matters              0.00
           B310 Claims Administration and
           Objections                                  0.00
           B320 Plan and Disclosure Statement          0.00
           B410 General Bankruptcy
           Advice/Opinions                             0.00
           B420 Restructurings                         0.00
           TOTALS:                                    363.00




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                               EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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January 31, 2023

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                     Re:          Alexander E. Jones, Debtor In Possession                 Case No. 22-33553

Billing Period:                 January 1 through January 31, 2023
Invoice No.                     AJ0101-23
Professional
Services Rendered:
         Date      Professional                                                 Description                                               Hours   Amount       Task Code
       1/2/2023        KN       Enter transactions to Accounting                                                                            4.50 $ 1,800.00      B210
                                Review of new Accounting chart of accounts & initial P&L; call with K. Norderhaug & B. Schleizer to
       1/3/2023        HK       discuss P&L, chart of accounts, forecast & BS                                                              3.30     1,650.00     B210
       1/3/2023         BS      Call with K. Norderhaug & H. Kessler - accounting set up and processes                                     1.80       900.00     B210
       1/3/2023        KN       Enter transactions to Accounting                                                                           7.00     2,800.00     B210
       1/4/2023        HK       Prepared for Thursday's meeting at FSS; framed in forecast                                                 2.20     1,100.00     B210
       1/4/2023        HK       Travel - non - working                                                                                     1.50       375.00     B195
       1/4/2023         BS      Travel - non - working                                                                                     1.50       375.00     B195
                                Calls emails w. R. Kennerly, Tax CPA - 2021 tax return (.6); Emails/calls re household expenses,
       1/4/2023         BS      deposits(.8)                                                                                               1.40     1,100.00     B240
       1/4/2023        KN       Accounting and Forecast                                                                                    7.50     3,000.00     B210
                                At FSS for meetings with P. Magill, R. Battaglia, C. Stephenson & B. Schleizer (sales process,
                                accounting & forecasts & strategy); Meeting with B. Roddy (sales & fulfillment) & D. Karpova
       1/5/2023        HK       (production & supplement sales)                                                                            7.50     3,750.00     B210
                                At FSS for meetings with P. Magill, R. Battaglia, C. Stephenson & H. Kessler (sales process, accounting
                                & forecasts & strategy); Meeting with B. Roddy (sales & fulfillment) & D. Karpova (production &
       1/5/2023         BS      supplement sales); calls w D. Jones re bank accounts; Move payroll to DIP                                  6.30     3,150.00     B210
       1/5/2023        KN       Entries to Accounting and Forecast for A. Jones                                                            4.00     1,600.00     B210
       1/6/2023        HK       FSS telephonic status conference call                                                                      0.20       100.00     B110
       1/6/2023        HK       Summarize meeting and action items                                                                         0.70       350.00     B210
                                Summarize meeting and action items (.5); Insurance research, discussions/emails - SM; J. Dietz(.6)
       1/6/2023        HK       (Allstate); calls - C. Stephenson (.2); Accounting issues (2.5)                                            3.70     1,850.00     B210
       1/6/2023        HK       Travel - non - working                                                                                     3.00       750.00     B195
       1/6/2023         BS      Travel - non - working                                                                                     3.00       750.00     B195
       1/7/2023         BS      Update call with A. Jones                                                                                  0.70       350.00     B210
       1/7/2023        HK       Update call with A. Jones & B. Schleizer                                                                   0.70       350.00     B210
                                Prepare action items and agenda for meeting w A. Jones(1.0); emails - J. Haarman - Mountain Way
       1/8/2023         BS      re: receivable due A. Jones (.1)                                                                           1.10       550.00     B210
       1/8/2023        HK       Review/revise agenda for Tuesday's meeting with A. Jones & B. Schleizer;                                   0.40       200.00     B210
       1/9/2023        HK       Prepared for Tuesday's meeting at FSS with A. Jones                                                        1.00       500.00     B210
       1/9/2023        HK       Call with K. Norderhaug & B. Schleizer Draft forecast                                                      0.50       250.00     B210
       1/9/2023         BS      Cash flow forecast and accounting issues; payroll; reimbursable expenses                                   2.60     1,300.00     B210
       1/9/2023        HK       Travel - non - working                                                                                     3.00       750.00     B195
       1/9/2023        KN       Accounting; cash flow; download bank transactions                                                          4.50     1,800.00     B210
       1/9/2023         BS      Travel - non - working                                                                                     3.00       750.00     B195
                                Meeting with A. Jones & B. Schleizer to give him an update, go through list of questions for
      1/10/2023        HK       schedules, sources of income                                                                               2.50     1,250.00     B110
                                On site meeting with A. Jones- case update to give him an update, go through list of questions for
                                schedules, sources of income (2.5); follow up w FSS re: motorhome note status - A. Jones guarantee
      1/10/2023         BS      (.3);                                                                                                      2.80     1,400.00     B110
      1/10/2023        HK       Call with attorney's Re: debtor interview tomorrow                                                         0.40       200.00     B110
      1/10/2023         BS      Preparation - 341 hearing (.5); call with counsel (.4)                                                     0.90       450.00     B110
      1/10/2023        HK       Call with J. Dalessio, A. Jones & B. Schleizer                                                             0.30       150.00     B210
                                Call with J. Dalessio, A. Jones(.3); meeting B. Stedham (FSS) & calls emails R. Kennerly re bitcoin
      1/10/2023         BS      transactions (.6)                                                                                          0.90      450.00      B210
      1/10/2023        HK       Meeting with T. Bennett, A. Jones & B. Schleizer Re: sale of Bitcoin                                       0.30      150.00      B240
      1/10/2023         BS      Meeting with T. Bennett, A. Jones & B. Schleizer Re: sale of Bitcoin                                       0.30      150.00      B240
      1/10/2023         BS      Meet PNC bank rep; deposit trust check to PNC DIP                                                          0.80      400.00      B210
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                  Re:        Alexander E. Jones, Debtor In Possession                  Case No. 22-33553

Billing Period:              January 1 through January 31, 2023
Invoice No.                  AJ0101-23
                             Review non-DIP accounts online (.5); Meeting -D. Jones to transfer money from bank accounts to
     1/10/2023          HK   PNC DIP account (.5)                                                                                      1.00    500.00    B210
     1/10/2023          BS   Meeting -D. Jones to transfer money from bank accounts to PNC DIP account                                 0.50    250.00    B210
     1/10/2023          HK   Travel - non - working                                                                                    3.00    750.00    B195
                             Accounting and expense research; discussions with Sarah- AJ Asst; initiate transfers to A. Jones name
     1/10/2023          KN   for certain accounts/services                                                                             4.00   1,600.00   B210
     1/11/2023          HK   Prep for Telephonic UCC call                                                                              0.30     150.00   B110
     1/11/2023          HK   Telephonic Creditors call with US Trustee                                                                 0.50     250.00   B110
     1/11/2023          BS   Prep for Telephonic UCC call                                                                              0.30     150.00   B110
     1/11/2023          BS   Telephonic Creditors call with US Trustee                                                                 0.50     250.00   B110
     1/11/2023          HK   Updated PQPR weekly Sales Reconciliation                                                                  0.20     100.00   B210
     1/11/2023          HK   Reviewed business entity PowerPoint                                                                       0.20     100.00   B110
     1/11/2023          HK   Update call with B. Schleizer Re: meeting with J. Dalessio (ESG) and J. Shulse - FSS                      0.20     100.00   B210
     1/11/2023          BS   Meeting J. Shulse FSS in Houston re accounting and cash flow issues                                       2.00   1,000.00   B210
     1/11/2023          BS   Update call - HK Re: meeting with J. Dalessio (ESG) and J. Shulse - FSS                                   0.20     100.00   B210
     1/11/2023          KN   Accounting: cash flow                                                                                     4.50   1,800.00   B210
     1/11/2023          BS   Travel - non - working                                                                                    3.00     750.00   B195
     1/12/2023          HK   Created ESG settlement weekly spreadsheet                                                                 0.90     450.00   B210
                             ESG reconciliation; contract review(.5); follow up J. J. Shulse - expense reimbursements; FSS
     1/12/2023          BS   accounting(.3)                                                                                            0.80    400.00    B210
                             Bank issues: Accounting; cash flow (6); MOR setup; review Call re: Actions items and accounting
     1/12/2023          KN   issues with B. Schleizer (2.0)                                                                            8.00   3,200.00   B210
     1/12/2023          BS   Teams - KN - accounting and cash flow                                                                     2.00   1,000.00   B210
     1/13/2023          HK   Call with C. Stephenson, V. Driver & B. Schleizer - case admin                                            0.60     300.00   B110
     1/13/2023          BS   Call with C. Stephenson, V. Driver - case issues                                                          0.60     300.00   B110
     1/13/2023          HK   Call with K. Norderhaug & B. Schleizer - accounting/budget                                                1.00     500.00   B210
     1/13/2023          BS   MOR - accounting issues                                                                                   0.80     400.00   B110
     1/13/2023          KN   MOR set up; call with B. Schleizer, H. Kessler                                                            0.40     160.00   B210
     1/13/2023          KN   Call with B. Schleizer, H. Kessler - accounting deficiencies                                              4.60   1,840.00   B210
     1/16/2023          HK   Call with B. Schleizer - case issues                                                                      0.40     200.00   B110
     1/16/2023          HK   Call with V. Driver & B. Schleizer - case issues                                                          0.50     250.00   B110
     1/16/2023          HK   Reviewed J. Dalessio's response to B. Schleizer's email Re: ESG forecast                                  1.00     500.00   B210
     1/16/2023          HK   Worked on ESG forecast                                                                                    1.50     750.00   B210
     1/16/2023          KN   Accounting ; cash flow;                                                                                   3.00   1,200.00   B210
     1/16/2023          KN   MOR                                                                                                       2.00     800.00   B110
                             Reviewed J. Dalessio's discussion points regarding ESG's supplement sales & new product
     1/17/2023          HK   discussions, current inventory on hand to meet sales                                                      3.50   1,750.00   B210
     1/17/2023          BS   ESG receivable (.7); review 1st draft of financials; email follow up(.6)                                  1.30     650.00   B210
     1/17/2023          HK   Non-working travel                                                                                        3.00     750.00   B110
     1/17/2023          KN   Accounting; expense; discussions David Jones                                                              4.00   1,600.00   B210
     1/17/2023          KN   Accounting; expense; discussions David Jones, MOR                                                         5.50   2,200.00   B110
                             At FSS - meeting with B. Roddy, meeting with J. Dalessio, call with J. Dalessio & R. Schleizer; meeting
     1/18/2023          HK   with T. Enlow                                                                                             8.00   4,000.00   B210
     1/18/2023          BS   Call w J. Dallesio; receivable; contract terms                                                            0.60     300.00   B210
     1/18/2023          BS   MOR review                                                                                                0.30     150.00   B210
     1/18/2023          BS   Call w PNC - bounced checks; (.3)                                                                         0.30     150.00   B210
     1/18/2023          BS   Tax issues; bitcoin; open items on 2021 - AJ, FSS & PQPR                                                  0.50     250.00   B240
     1/18/2023          KN   MOR, Accounting                                                                                           7.00   2,800.00   B110
     1/19/2023          HK   At FSS - Meeting with B. Roddy to discuss 3 supplement forecast                                           1.60     800.00   B210
     1/19/2023          HK   Call with A. Jones & B. Schleizer re case issues; upcoming hearings                                       0.40     200.00   B110
     1/19/2023          HK   Travel - non - working                                                                                    3.00    750.00    B195
     1/19/2023          BS   Travel - non - working                                                                                    3.00     750.00   B195
     1/19/2023          KN   Accounting                                                                                                8.00   3,200.00   B210
     1/20/2023          HK   Call with V. Driver, B. Schleizer Re: MOR                                                                 0.10      50.00   B110
     1/20/2023          HK   Teams call K. Norderhaug & B. Schleizer to discuss go through MOR                                         2.90   1,450.00   B110
     1/20/2023          BS   Teams call MOR                                                                                            2.90   1,450.00   B110
     1/20/2023          BS   Hearing - utilities, etc.                                                                                 0.50     250.00   B110
     1/20/2023          BS   Tax discussion T. Bennett- bitcoin                                                                        0.60     300.00   B240
     1/20/2023          HK   Updated settlement reconciliation & then revised as FSS revised amounts                                   0.60     300.00   B210
     1/20/2023          KN   MOR                                                                                                       6.50   2,600.00   B110
     1/21/2023          KN   Accounting                                                                                                5.00   2,000.00   B210
     1/21/2023          KN   MOR                                                                                                       2.00     800.00   B110
     1/21/2023          KN   MOR                                                                                                       0.80     320.00   B110
     1/22/2023          HK   Review DRAFT MOR as of 12/31/22 & schedules                                                               1.00     500.00   B110
     1/22/2023          BS   Review DRAFT MOR as of 12/31/22 & schedules                                                               0.70     350.00   B110
     1/22/2023          HK   Call with BlackBriar to finalize MOR & schedules                                                          1.30     650.00   B110
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                  Re:        Alexander E. Jones, Debtor In Possession              Case No. 22-33553

Billing Period:              January 1 through January 31, 2023
Invoice No.                  AJ0101-23
      1/22/2023         HK   Call with BlackBriar to finalize MOR & schedules                                       1.30        650.00    B110
      1/22/2023         HK   Final reviews                                                                          1.00        500.00    B110
      1/22/2023         KN   MOR                                                                                    4.00      1,600.00    B110
      1/22/2023         KN   Accounting                                                                             2.50      1,000.00    B210
      1/22/2023         BS   MOR - review and send to attorney for prep                                             0.90        450.00    B110
      1/23/2023         HK   Calls with BlackBriar and Crowe & Dunlevy Re: MOR & schedules                          0.80        400.00    B110
      1/23/2023         BS   Discussion, emails N. Collins,- tax attorney; R. Kennerly                              0.60        300.00    B240
      1/23/2023         BS   Calls with BlackBriar and Crowe & Dunlevy Re: MOR & schedules                          0.80        400.00    B110
      1/23/2023         HK   Worked on A. Jones revenue forecast                                                    2.10      1,050.00    B210
      1/23/2023         KN   Accounting; Monthly Forecast; Property values                                          7.00      2,800.00    B210
      1/24/2023         HK   Non working travel                                                                     3.00        750.00    B195
      1/24/2023         BS   Non working travel                                                                     3.00        750.00    B195
      1/24/2023         BS   Banking issues                                                                         0.50        250.00    B110
      1/24/2023         HK   Onsite final MOR & all schedules with BlackBriar and Crowe & Dunlevy                   2.60      1,300.00    B110
      1/24/2023         BS   Onsite final MOR & all schedules with BlackBriar and Crowe & Dunlevy                   2.60      1,300.00    B110
      1/24/2023         BS   Real Estate Analysis                                                                   1.50        750.00    B110
      1/24/2023         HK   Created notes of documents needed from D. Jones for tomorrow's meeting                 0.90        450.00    B210
      1/24/2023         KN   Monthly Forecast; property values; discussions with Leslie and Sarah                   7.00      2,800.00    B210
      1/25/2023         HK   Team meeting to set agenda for D. Jones meeting                                        1.00        500.00    B210
      1/25/2023         BS   Team meeting to set agenda for D. Jones meeting                                        1.00        500.00    B210
      1/25/2023         BS   DIP account issues                                                                     0.40        200.00    B210
      1/25/2023         HK   Meeting with D. Jones - trusts; property ownership; banking                            3.50      1,750.00    B210
      1/25/2023         HK   Meeting with D. Jones - trusts; property ownership; banking                            3.50      1,750.00    B210
      1/25/2023         HK   Calls/meeting with BlackBriar & Crowe Dunlevy; UCC                                     1.80        900.00    B110
      1/25/2023         HK   Calls/meeting with BlackBriar & Crowe Dunlevy; UCC                                     1.80        900.00    B110
      1/25/2023         HK   Meeting A. Jones                                                                       0.80        400.00    B110
      1/25/2023         BS   Meeting A. Jones                                                                       0.80        400.00    B110
      1/25/2023         BS   Meeting with FSS                                                                       0.90        450.00    B210
      1/25/2023         HK   Meeting with FSS                                                                       0.90        450.00    B210
      1/25/2023         KN   Forecast, banking, discussions with D. Jones                                           7.00      2,800.00    B210
      1/26/2023         HK   Reviewed P&L Forecast received                                                         1.50        750.00    B210
      1/26/2023         HK   Meeting with BlackBriar and Crowe & Dunlevy to set agenda for FSS forecast meeting     1.00        500.00    B210
      1/26/2023         BS   Emails & calls re tax information                                                      0.30        150.00    B240
      1/26/2023         BS   Meeting with BlackBriar and Crowe & Dunlevy to set agenda for FSS forecast meeting     1.00        500.00    B210
      1/26/2023         HK   FSS P&L Forecast meeting                                                               3.50      1,750.00    B210
      1/26/2023         BS   FSS P&L Forecast meeting                                                               3.50      1,750.00    B210
      1/26/2023         BS   Meeting A. Jones                                                                       1.80        900.00    B210
      1/26/2023         HK   Meeting A. Jones                                                                       1.80        900.00    B210
      1/26/2023         HK   Non working travel                                                                     3.00        750.00    B195
      1/26/2023         BS   PQPR distribution analysis(.8); Bitcoin basis follow up (.2)                           1.00        250.00    B240
      1/26/2023         BS   Non working travel                                                                     3.00        750.00    B195
      1/26/2023         KN   Monthly forecast; Transactions                                                         3.00      1,200.00    B210
      1/26/2023         KN    SOFA                                                                                  1.00        400.00    B110
      1/27/2023         BS   Fee app review                                                                         1.80        900.00    B160
      1/27/2023         HK   Updated master spreadsheet supplement reconciliation & calls with J. Dalessio          2.00      1,000.00    B210
      1/27/2023         HK   Review updated FSS forecasted P&L                                                      2.20      1,100.00    B210
      1/27/2023         KN    Transactions; Budget; discussions with Sarah                                          3.00      1,200.00    B210
      1/27/2023         KN   SOFA                                                                                   4.00      1,600.00    B110
      1/29/2023         BS   Calls - A. Jones; C. Cicack                                                            0.50        250.00    B210
      1/29/2023         KN   SOFA                                                                                   7.50      3,000.00    B110
      1/30/2023         KN   SOFA; transfers; Accounting; discussions with David and Sarah                          8.00      3,200.00    B110
      1/30/2023         BS   DIP account issues; bounced checks and wires                                           0.50        250.00    B210
      1/31/2023         KN   Accounting Research- Transfers, SOFA                                                   8.00      3,200.00    B110
      1/30/2023         HK   Calls with BlackBriar & attorney's regarding SOFA's                                    3.50      1,750.00    B110
      1/30/2023         KN   SOFA; transfers; QB; discussions with David and Sarah                                  8.00      3,200.00    B110
      1/31/2023         HK   UCC FA introduction call                                                               0.30        150.00    B110
      1/31/2023         BS   UCC FA introduction call                                                               0.30        150.00    B110
      1/31/2023         HK   Calls with BlackBriar & attorneys regarding transfer analysis                          0.50        250.00    B110
      1/31/2023         BS   Calls with BlackBriar & attorneys regarding transfer analysis                          0.50        250.00    B110
      1/31/2023         HK   FSS forecast                                                                           0.50        250.00    B210
      1/31/2023         HK   worked on SOFA & schedules                                                             3.80      1,900.00    B110
      1/31/2023         KN   Accounting Transfers, SOFA                                                             8.00      3,200.00    B110




                                                                                                                  363.00   $ 154,070.00
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                  Re:     Alexander E. Jones, Debtor In Possession              Case No. 22-33553

Billing Period:           January 1 through January 31, 2023
Invoice No.               AJ0101-23
                                        Total hours for Robert Schleizer (BS)                        75.70      33,125.00
                                        Total hours for Harold Kessler (HK)                         116.50      52,625.00
                                        Total hours for Kathy Norderhaug (KN)                       170.80      68,320.00
                                                                                                    363.00   $ 154,070.00   $   -
                           Expenses
                              From attached expense breakdown                                                $ 6,422.40
                                     Total Invoice Amount                                                    $ 160,492.40



                          BlackBriar Advisors LLC
                          2626 Cole Ave., Suite 300
                          Dallas, TX 75204
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Alex E. Jones
Billing Period:                 January 1 through January 31, 2023
Invoice:                        AJ1201-22

   Date         Airfare/Train       Mileage          Meals           Auto         Hotel         Other          Total

      1-Jan               -                 -              -              -             -            -                -
      2-Jan               -                 -              -              -             -            -                -
      3-Jan               -                 -              -              -             -            -                -
      4-Jan               -                 -              -              -             -            -                -
      5-Jan               -                 -              -              -             -          19.98            19.98
      6-Jan            224.00               -              -              -             -         114.31           338.31
      7-Jan               -                 -              -              -             -            -                -
      8-Jan               -                 -              -              -             -            -                -
      9-Jan               -                 -              -              -             -            -                -
    10-Jan                -                 -              -              -             -            -                -
    11-Jan                -                 -              -              -             -            -                -
    12-Jan                -                 -              -              -             -            -                -
    13-Jan             576.60             14.09          46.79         514.29      1,085.93        24.00         2,261.70
    14-Jan                -                 -              -              -             -            -                -
    15-Jan             129.00             14.10            -            15.44        644.92        30.00           833.46
    16-Jan                -                 -              -              -             -            -                -
    17-Jan                -                 -              -              -             -            -                -
    18-Jan             458.00               -              -              -             -          16.00           474.00
    19-Jan                -                 -              -              -             -            -                -
    20-Jan                -                 -              -              -             -            -                -
    21-Jan                -                 -              -              -             -            -                -
    22-Jan                -                 -              -              -             -            -                -
    23-Jan                -                 -              -              -             -            -                -
    24-Jan             447.60               -           186.83            -          727.40          -           1,361.83
    25-Jan                -                 -           218.79            -             -          24.00           242.79
    26-Jan                -                 -            27.67            -          661.05          -             688.72
    27-Jan                -                 -              -           184.68           -          16.93           201.61
    28-Jan                -                 -              -              -             -            -                -
    29-Jan                -                 -              -              -             -            -                -
    30-Jan                -                 -              -              -             -            -                -
    31-Jan                -                 -              -              -             -            -                -
Total       $        1,835.20 $           28.19 $       480.08 $       714.41 $    3,119.30 $     245.22   $     6,422.40
